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                        UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                 FOR​ ​THE​ ​SOUTHERN​ ​DISTRICT​ ​OF​ ​NEW​ ​YORK

 KAYLA​ ​REED​,​ ​an​ ​individual,
                                )                            Case​ ​No.
                                )
     Plaintiff,                 )
                                )
 vs.                            )                            Trial​ ​by​ ​Jury​ ​Demanded
                                )
 LOEHMANN’S​ ​HOLDINGS​ ​INC.​, )
                                )
     Defendant.
                                )
                                )
                                )

              COMPLAINT​ ​FOR​ ​INJUNCTIVE​ ​RELIEF,
  CIVIL​ ​MONETARY​ ​PENALTIES,​ ​AND​ ​OTHER​ ​EQUITABLE​ ​RELIEF

        Plaintiff, ​KAYLA REED​, (“Plaintiff”), by and through her attorneys, for

her​ ​complaint​ ​against​ ​LOEHMANN’S​ ​HOLDINGS​ ​INC.​,​ ​states​ ​as​ ​follows:

                                         INTRODUCTION

        1.       Plaintiff is a blind and visually-impaired person who requires

screen-reading​ ​software​ ​to​ ​read​ ​website​ ​content​ ​using​ ​her​ ​computer.

        2.       Plaintiff uses the terms “blind” or “visually-impaired” to refer to all

people with visual impairments who meet the legal definition of blindness in that

they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind​ ​people​ ​who​ ​meet​ ​this​ ​definition​ ​have​ ​limited​ ​vision.​ ​ ​Others​ ​have​ ​no​ ​vision.

        3.       Plaintiff     brings      this    civil    rights     action      against     Defendant
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LOEHMANN’S HOLDINGS INC. (“Defendant”) for its failure to design,

construct, maintain, and operate its website, Loehmanns.com (the “website”) to be

fully accessible to and independently usable by Plaintiff and other blind or

visually-impaired​ ​people.

         4.       Defendant’s denial of full and equal access to its website, and

therefore denial of its products and services offered thereby, is a violation of

Plaintiff’s rights under the Americans with Disabilities Act (“ADA”) a​ nd

California’s​ ​Unruh​ ​Civil​ ​Rights​ ​Act​ ​(“UCRA”).

         5.       Because Defendant’s website, Loehmanns.com is not fully and

equally accessible to blind and visually-impaired consumers in violation of the

ADA, Plaintiff seeks a permanent injunction to cause a change in Defendant’s

corporate policies, practices, and procedures so that Defendant’s website will

become and remain accessible to blind and visually-impaired consumers, including

Plaintiff.

                                  JURISDICTION​ ​AND​ ​VENUE

         6.       This Court has subject-matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III

of​ ​the​ ​ADA,​ ​42​ ​U.S.C.​ ​§​ ​12181,​ ​et​ ​seq.​,​ ​and​ ​28​ ​U.S.C.​ ​§​ ​1332.

         7.       This court has supplemental jurisdiction over Plaintiff’s non-federal
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claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so

related to Plaintiff’s federal ADA claims, they form part of the same case or

controversy​ ​under​ ​Article​ ​III​ ​of​ ​the​ ​United​ ​States​ ​Constitution

         8.       This Court has personal jurisdiction over Defendant because it is

deemed a resident of the State of New York and it conducts and continues to

conduct​ ​a​ ​substantial​ ​and​ ​significant​ ​amount​ ​of​ ​business​ ​in​ ​the​ ​State​ ​of​ ​New​ ​York.

         9.       Venue is proper in the Southern District of New York pursuant to 28

U.S.C. §1391(b)(1) because Defendant resides in this District and this Court has

personal​ ​jurisdiction​ ​over​ ​Defendant.

                                               PARTIES

         10.      Plaintiff, at all times relevant and as alleged herein, is a resident of

California, County of Ventura. Plaintiff is also blind, visually-impaired person, and

a member of a protected class of individuals under the ADA, pursuant to 42 U.S.C.

§ 12102(1)-(2), and the regulations implementing the ADA set forth at 28 C.F.R.

§§​ ​36.101​ ​et​ ​seq​.

         11.      Plaintiff is informed and believes, and thereon alleges Defendant

operates a website that allows consumers to browse the beauty products and

accessories sold in its retail stores and via the website. Defendant's headquarters

are​ ​located​ ​in​ ​the​ ​Bronx,​ ​New​ ​York.
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        12.     Defendant’s website is a public accommodation within the definition

of Title III of the ADA, 42 U.S.C. § 12181(7) because its website is, or is part of, a

“sales​ ​or​ ​rental​ ​establishment,”​ ​and​ ​a​ ​“service​ ​establishment.”

        13.     Defendant has been and is committing the acts or omissions alleged

herein in Ventura County of the State of California which caused injury, and

violated rights prescribed by the ADA and UCRA, to Plaintiff and to other blind

and other visually impaired-consumers. A substantial part of the acts and omissions

giving rise to Plaintiff’s claims occurred in California. Specifically, on several

separate occasions, Plaintiff has been denied the full use and enjoyment of the

facilities,​ ​goods,​ ​and​ ​services​ ​of​ ​Defendant’s​ ​website​ ​in​ ​Ventura​ ​County.

        14.     The access barriers Plaintiff encountered on Defendant’s website have

caused a denial of Plaintiff’s independent, full and equal access multiple times in

the​ ​past,​ ​and​ ​now​ ​deter​ ​Plaintiff​ ​from​ ​accessing​ ​Defendant’s​ ​website.

   THE​ ​AMERICANS​ ​WITH​ ​DISABILITIES​ ​ACT​ ​AND​ ​THE​ ​INTERNET

        15.     The Internet has become a significant source of information, a portal,

and a tool for conducting business, doing everyday activities such as shopping,

learning, banking, researching, as well as many other activities for sighted, blind

and visually-impaired persons alike. As an essential tool for many Americans,

when accessible, the Internet provides individuals with disabilities great
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independence.

        16.      Blind persons are able to access websites using keyboards in

conjunction with screen access software that vocalizes the visual information found

on a computer or smart-phone screen. This technology is known as screen-reading

software​ ​and​ ​is​ ​also​ ​commonly​ ​referred​ ​to​ ​as​ ​a​ ​screen​ ​reader.

        17.      Except for legally blind individuals whose residual vision allows them

to use magnification, screen-reading software is currently the only method a blind

person​ ​can​ ​fully​ ​and​ ​independently​ ​access​ ​the​ ​internet.

        18.      Unless websites are designed to allow screen-reading software users

to navigate Internet content by way of the keyboard or through moving their

fingers over the smartphone screen, blind and visually-impaired persons are unable

to fully, equally and independently access websites and the information, products,

and​ ​services​ ​contained​ ​therein.

        19.      Blind      and      visually-impaired          users      of       Windows   operating

system-enabled computers and devices have several screen-reading software

programs available to them. Some of these programs are available for purchase

and other programs are available without the user having to purchase the program

separately.

        20.       Job Access With Speech, otherwise known as “JAWS,” is currently
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the most popular, separately purchased and downloaded screen-reading software

program​ ​available​ ​for​ ​a​ ​Windows​ ​computer.

        21.      For ​screen-reading software to function, the information on a website

must be capable of being rendered into meaningful text so it may be read back to

the user and then the user can navigate a website and various web pages within a

website​ ​using​ ​their​ ​keyboard.

        22.      If the website content is not capable of being rendered into meaningful

text, the blind or visually-impaired user is not able to access and navigate the same

content​ ​on​ ​a​ ​website​ ​that​ ​is​ ​available​ ​to​ ​sighted​ ​users.

        23.      The ADA specifically provides, “No individual shall be discriminated

against on the basis of disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages, or accommodations of any place of

public accommodation by any person who owns, leases (or leases to) or operates a

place of public accommodation.” 42 U.S.C. §12182(a); 28 C.F.R. §36.201(a). The

ADA further requires that a public accommodation provide accessible electronic

and information technology as auxiliary aids and services.                   ​See 28 C.F.R.

§36.303(a),​ ​(b)​ ​and​ ​(c)(ii).

        24.      Within this context, numerous federal courts have recognized the

viability of ADA claims against commercial website owners/operators with regard
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to the accessibility of such websites. ​See, e.g.​, ​Gorecki v. Dave & Buster’s, Inc.​,

No. 2:17-cv-01138-PSG-AGR (C.D. Cal. October 10, 2017) (Gutierrez, P.)

(denying a motion for summary judgment sought against ADA and California’s

Unruh Civil Rights Act claims)(“a finding of liability regarding the Website’s

compliance with the ADA does not require sophisticated technical expertise

beyond the ability of the Court”); ​Kayla Reed v. CVS Pharmacy, Inc.​, Case No.

2:17-cv-03877-MWF-SK, at *9. (C.D.C.A. Oct. 3, 2017) (Fitzgerald) (denying a

motion to dismiss sought against ADA and California’s Unruh Civil Rights Act

claims) (“The DOJ’s position that the ADA applies to websites being clear, it is no

matter that the ADA and the DOJ fail to describe exactly how any given website

must be made accessible to people with visual impairments. Indeed, this is often

the case with the ADA’s requirements, because the ADA and its implementing

regulations are intended to give public accommodations maximum flexibility in

meeting the statute’s requirements. This flexibility is a feature, not a bug, and

certainly not a violation of due process."); ​Andrews v. Blick Art Materials, LLC​, --

F. Supp. 3d --, 2017 WL 3278898, at *12, *15-*18 (E.D.N.Y. Aug. 1, 2017)

(Weinstein, J.); ​Gomez v. Lego Systems, Inc.​, Case 1:17-cv-21628-CMA (S.D. Fla.

July 31, 2017) (denying a motion to dismiss an ADA claim alleging an inaccessible

commercial website) [ECF #40]; ​Thurston v. Chino Commercial Bank, N.A.​, No.
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CV 17-01078 BRO (JCx), 2017 WL 3224681, at *5 (C.D. Cal. July 27, 2017)

(citing ​Gorecki​); ​Markett v. Five Guys Enterprises LLC​, No. 1:17-cv-00788-KBF,

slip op. at 4-6 [ECF #33] (S.D.N.Y. July 21, 2017); ​Gorecki v. Hobby Lobby

Stores, Inc.​, No. 2:17-cv-01131-JFW-SK, 2017 WL 2957736 (C.D. Cal. June 15,

2017) (Walter, J.) (denying a motion to dismiss sought against ADA and

California’s Unruh Civil Rights Act claims) (“[T]his is a relatively straightforward

claim that Hobby Lobby failed to provide disabled individuals full and equal

enjoyment of goods and services . . . by not maintaining a fully accessible website.

There is nothing unique about this case, as federal courts have resolved effective

communication claims under the ADA in a wide variety of contexts-- including

cases involving allegations of unequal access to goods, benefits and services

provided    through    websites.”);   ​Gil   v.   Winn-Dixie   Stores,   Inc​.,   No.

16-23020-Civ-Scola, -- F. Supp. 3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13,

2017) (finding that the defendant, a large supermarket chain, had violated the

plaintiff’s rights under the ADA by failing to maintain an accessible website after a

non-jury trial); ​Frazier v. Ameriserv Financial Bank​, Nos. 2:16-cv-01898-AJS

(Lead Case), 17cv0031 [ECF #107], slip op. at 20 (W.D. Pa. Apr. 21, 2017)

(denying a motion to dismiss an ADA claim alleging an inaccessible commercial

website); ​Frazier v. Churchill Downs Inc.​, Nos. 2:16-cv-01898-AJS (Lead Case),
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2:16-cv-0007 (Member Case) [ECF #107] slip op. at 20 (W.D. Pa. Apr. 21, 2017)

(same);    ​OmahaSteaks.com,     Inc.   v.   Access   Now,    Inc.,   et   al.​,   No.

8:17-cv-00060-LSC-CRZ [ECF #9-1] (D. Neb. Apr. 17, 2017) (consent decree);

Access Now, Inc., et al. v. Omahasteaks.com, Inc.​, Nos. 2:16-cv-01898-AJS (Lead

Case), 2:17-cv-00269-AJS (Member Case) [ECF #99] (W.D. Pa. Apr. 11, 2017

(same); ​Gil v. Winn-Dixie Stores, Inc.​, -- F. Supp. 3d --, No. 16-23020-Civ-Scola,

2017 WL 2609330 (S.D. Fla. Mar. 15, 2017) (denying a motion for judgment on

the pleadings sought against an ADA claim alleging an inaccessible commercial

website); ​Nat’l Ass’n of the Deaf v. Harvard Univ.​, Case 3:15-cv-30023-MGM,

2016 WL 3561622, at *12-*20 (D. Mass. Feb. 9, 2016) (Robertson, Mag. J.)

(recommending the denial of a motion to dismiss or stay predicated on the primary

jurisdiction doctrine), ​adopted in Nat’l Ass’n of the Deaf v. Harvard Univ.​, Case

3:15-cv-30023-MGM, 2016 WL 6540446, at *1-*3 (D. Mass. Nov. 3, 2016)

(Mastroianni, J.); ​Nat’l Ass’n of the Deaf v. Massachusetts Inst. of Tech.​, Case

3:15- cv-30024-MGM, 2016 WL 3561631, at *1 (D. Mass. Feb. 9, 2016)

(Robertson, Mag. J.)(recommending the denial of a motion to dismiss or stay

predicated on the primary jurisdiction doctrine), ​adopted in Nat’l Ass’n of the Deaf

v. Massachusetts Inst. of Tech.​, Case 3:15-cv-30024-MGM, 2016 WL 6652471, at

*1 (D. Mass. Nov. 4, 2016) (Mastroianni, J.); ​Edward Davis v. Orlando Wilshire
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Investments Ltd., et al.​, No. 5:15-cv-01738-MWF-KK, slip op. at 10 [ECF #17]

(C.D. Cal. Nov. 2, 2015) (Fitzgerald, J.) (denying motion to dismiss in a website

accessibility case) (“the Court concludes that the Complaint sufficiently alleges

that the inaccessibility of the Website impedes the full and equal enjoyment of the

Hotel.”); ​Nat’l Fed’n of the Blind v. Scribd, Inc., ​98 F. Supp.3d 565, 576 (D. Vt.

2015) (denying a motion to dismiss an ADA claim against a commercial website

operator); ​James Patrick Brown v. BPS Direct, LLC, et al.​, Case No. LACV

14-04622 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D. Cal. Oct. 6, 2014)

(Krondstadt, J.) (denying the defendant’s motion to dismiss while relying on the

Target ​decision as “persuasive”, and holding “the Complaint does allege that Bass

Pro Shops is a chain of brick-and-mortar stores and that BassPro.com is a website

providing information about Bass Pro Shops products, offers, and locations…. [and

that] a nexus could be established here through discovery.”); ​Penney v. Kohl’s

Dep’t Stores, Inc., et al.​, No. 8:14-cv-01100-CJC-DFM [ECF #12] slip op. at 3

(C.D. Cal. Sept. 23, 2014) (Carney, J.) (denying a motion to dismiss and stating,

“Thus, the Complaint states plausible facts that establish the requisite nexus

between the challenged service and the place of public accommodation.”);

National Ass’n of the Deaf v. Netflix, Inc.​, 869 F. Supp. 2d 196, 200 (D. Mass.

2012) (excluding web-based services would “run afoul of the purposes of the ADA
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and would severely frustrate Congress’s intent that individuals with disabilities

fully   enjoy   the   goods,    services,   privileges, and advantages available

indiscriminately to other members of the general public”); ​id. ​at 200-01 (“[T]he

legislative history of the ADA makes clear that Congress intended the ADA to

adapt to changes in technology.”) (quoting H.R. Rep. 101-485(II), at 108 (1990))

(“[T]he Committee intends that the types of accommodation and services provided

to individuals with disabilities, under all of the titles of this bill, should keep pace

with the rapidly changing technology of the times.”); ​Shields v. Walt Disney Parks

and Resorts US, Inc.​, 279 F.R.D. 529, 559 (C.D. Cal. 2011) (rejecting as

“unpersuasive” Disney’s argument that “there is no accepted accessibility

standard” and the argument that the DOJ has yet to determine what standards to

apply to websites and stating, “The lack of a widely accepted standard for website

accessibility does not preclude injunctive relief that would improve access to

Defendants’ websites by the visually impaired.”); ​Nat’l Federation of the Blind v.

Target Corp.​, 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006) (“To limit the ADA to

discrimination in the provision of services occurring on the premises of a public

accommodation would contradict the plain language of the statute.”); ​id. ​at 953-54

(“consistent with the plain language of the statute, no court has held that under the

nexus theory a plaintiff has a cognizable claim only if the challenged service
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prevents physical access to a public accommodation. Further, it is clear that the

purpose of the statute is broader than mere physical access—seeking to bar actions

or omissions which impair a disabled person’s “full enjoyment” of services or

goods of a covered accommodation. 42 U.S.C. § 12182(a). Indeed, the statute

expressly states that the denial of equal “participation” or the provision of

“separate benefit[s]” are actionable under Title III. ​See ​42 U.S.C. §

12182(b)(1)(A).”); ​cf. Hindel v. Husted​, No. 2017 WL 432839, at *7 (S.D. Ohio

Feb. 1, 2017) (granting a permanent injunction against the Ohio Secretary of State

based on the accessibility of the state’s website under Title II of the ADA and

requiring​ ​accessibility).

        25.      Commercial websites that are not accessible for blind and

visually-impaired individuals using screen-readers and keyboards only, violate this

basic mandate of the ADA. ​See National Federation of the Blind v. Target Corp.​,

452​ ​F.​ ​Supp.​ ​2d​ ​946​ ​(N.D.​ ​Cal.​ ​2006).

        26.      The Department of Justice (the “DOJ”) has consistently stated its view

that the ADA's accessibility requirements apply to websites belonging to private

companies. ​See, e.g.​, ​Applicability of the Americans with Disabilities Act (ADA) to

Private Internet Sites: Hearing before the House Subcommittee on the Constitution

of the House Committee on the Judiciary,​ 106th Cong., 2d Sess. 65-010 (2000) ("It
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is the opinion of the Department of Justice currently that the accessibility

requirements of the Americans with Disabilities Act already apply to private

Internet Web sites and services."); 75 Fed. Reg. 43460-01 (July 6, 2010) ("The

Department believes that title III reaches the Web sites of entities that provide

goods or services that fall within the 12 categories of 'public accommodations,' as

defined by the statute and regulations."). Thus, Defendant is on notice that the

ADA’s general mandate applies to website accessibility. ​See Fortyune v. City of

Lomita​, 766 F.3d 1098, 1102 (9th Cir. 2014); ​Reich v. Mont. Sulphur & Chem. Co.​,

32​ ​F.3d​ ​440,​ ​444–45​ ​(9th​ ​Cir.​ ​1994).

            DEFENDANT’S​ ​FAILURE​ ​TO​ ​MAKE​ ​ITS​ ​WEBSITE
          ACCESSIBLE​ ​AND​ ​PLAINTIFF’S​ ​ATTEMPTS​ ​TO​ ​ACCESS

        27.     Defendant offers the commercial website, Loehmanns.com to the

public.

        28.     The website offers features which should allow all consumers to

access​ ​the​ ​goods​ ​and​ ​services​ ​Defendant​ ​offers.

        29.     The goods and services offered by Defendant’s website include, but

are not limited to the following, which should allow all consumers to: view product

descriptions, browse products offered for sale, access clearance offers, and many

other​ ​benefits.
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         30.      Based on information and belief, it is Defendant's policy and practice

to deny Plaintiff, along with other blind or visually-impaired users, access to

Defendant’s website, and to therefore specifically deny the goods and services that

are​ ​offered​ ​therein​ ​and​ ​available​ ​at​ ​its​ ​stores.

         31.      Due to Defendant's failure and refusal to remove access barriers to its

website, Plaintiff and visually-impaired persons have been and are still being

denied equal access to the numerous goods, services, and benefits offered to the

public​ ​through​ ​Loehmanns.com.

         32.      Plaintiff cannot use a computer without the assistance of

screen-reading​ ​software.

         33.      However, Plaintiff is a proficient user of the JAWS screen-reader and

uses​ ​it​ ​to​ ​access​ ​the​ ​internet.

         34.      Plaintiff has visited Loehmanns.com on several separate occasions

using​ ​the​ ​JAWS​ ​screen-reader.

         35.      Plaintiff first visited the website in October of 2017 with the intention

of shopping for shoes and a jacket. Plaintiff found unlabeled buttons and links

prevented her from navigating the website. Plaintiff also found at least one cursor

trap that prevented her from navigating the website.              Unlabeled images left

Plaintiff uncertain whether those images were informative or decorative or both.
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The combination of unlabeled links, buttons and graphics render the website

unintelligible and prevent navigation and use. Because of the lack of alt-text and

structure of the website, Plaintiff could not view descriptions of products offered

for sale on the website. Plaintiff was further unable to activate links and buttons to

choose a correct size. Due to the confusing structure of the site and the lack of

navigational headings and generally confusing website structure, Plaintiff could not

choose a correct size for a jacket or shoes using a screen-reader, or learn details

about​ ​the​ ​products​ ​offered​ ​for​ ​sale,​ ​which​ ​she​ ​found​ ​frustrating​ ​and​ ​disheartening.

        36.     Due to the widespread access barriers Plaintiff encountered on

Defendant’s website, Plaintiff has been deterred, more than once, from accessing

Defendant’s website and this has prevented her from full and equal access of

Defendant’s​ ​products​ ​and​ ​services.

        37.     On more than one occasion in 2017 Plaintiff attempted to do business

with Defendant by using Loehmanns.com and Plaintiff encountered barriers to

access​ ​on​ ​the​ ​website.

        38.     Despite past and recent attempts to do business with Defendant by

visiting its website, the numerous access barriers contained on the website

encountered​ ​by​ ​Plaintiff,​ ​have​ ​denied​ ​Plaintiff​ ​full​ ​and​ ​equal​ ​access.

        39.     Plaintiff, as a result of the barriers on Defendant’s website continues
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to​ ​be​ ​deterred​ ​on​ ​a​ ​regular​ ​basis​ ​from​ ​accessing​ ​Defendant’s​ ​website.

        40.      Due       to    the   inaccessibility      of     Loehmanns.com,           blind   and

visually-impaired consumers, such as Plaintiff, who need screen-readers, cannot

fully and equally use or enjoy the facilities, goods, and services Defendant offers to

the​ ​public​ ​on​ ​its​ ​website.

        41.      The access barriers Plaintiff encountered on Defendant’s website have

caused a denial of Plaintiff’s full and equal access multiple times in the past, and

now​ ​deter​ ​Plaintiff​ ​on​ ​a​ ​regular​ ​basis​ ​from​ ​accessing​ ​Defendant’s​ ​website.

        42.      If Loehmanns.com was equally accessible to all, Plaintiff could

independently navigate Defendant’s website and complete a transaction as sighted

individuals​ ​do.

        43.      Having made many attempts to use Defendant’s website, Plaintiff has

actual knowledge of the access barriers that make these privileges, goods and

services inaccessible and independently unusable by blind and visually-impaired

people.

        44.      Because maintaining and providing a website that is fully and equally

accessible to all consumers would provide Plaintiff and other visually-impaired

consumers with full and equal access to Loehmanns.com, Plaintiff alleges that

Defendant has engaged in acts of intentional discrimination, including but not
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limited​ ​to​ ​the​ ​following​ ​policies​ ​or​ ​practices:

              a.    Construction and maintenance of a website that is inaccessible to

                    visually-impaired​ ​individuals,​ ​including​ ​Plaintiff;

              b.    Failure to construct and maintain a website that is sufficiently

                    intuitive so as to be equally accessible to visually-impaired

                    individuals,​ ​including​ ​Plaintiff;​ ​and,

              c.    Failure to take actions to correct these access barriers in the face of

                    substantial harm and discrimination to blind and visually-impaired

                    consumers,​ ​such​ ​as​ ​Plaintiff,​ ​as​ ​a​ ​member​ ​of​ ​a​ ​protected​ ​class.

        45.        Defendant therefore uses standards, criteria or methods of

administration that have the effect of discriminating or perpetuating the

discrimination​ ​of​ ​others,​ ​as​ ​alleged​ ​herein.

        46.        The ADA expressly contemplates the type of injunctive relief that

Plaintiff​ ​seeks​ ​in​ ​this​ ​action.​ ​ ​In​ ​relevant​ ​part,​ ​the​ ​ADA​ ​requires:

        “In the case of violations of . . . this title, injunctive relief shall include an
        order to alter facilities to make such facilities readily accessible to and
        usable by individuals with disabilities….Where appropriate, injunctive relief
        shall​ ​also​ ​include​ ​requiring​ ​the​ ​.​ ​.​ ​.​ ​modification​ ​of​ ​a​ ​policy.​ ​.​ ​.”
        (42​ ​U.S.C.​ ​§​ ​12188(a)(2).)

        47.        Because Defendant’s website is not equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its
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website to become and remain accessible, Plaintiff invokes the provisions of 42

U.S.C. § 12188(a)(2), and seeks a permanent injunction requiring Defendant to

retain a qualified consultant acceptable to Plaintiff (“Agreed Upon Consultant”) to

comply with the ADA and make the website accessible. To do so, Defendant must

utilize input from the Agreed Upon Consultant in order for Defendant to modify

the website's functionality so as to provide effective communication about the

goods, services and/or privileges offered by the website to screen-reader users,

instead​ ​of​ ​only​ ​providing​ ​such​ ​functionality​ ​to​ ​sighted​ ​persons.

        48.     Plaintiff seeks that this permanent injunction require Defendant to

cooperate​ ​with​ ​the​ ​Agreed​ ​Upon​ ​Consultant​ ​to:

                    a. Train Defendant’s employees and agents who develop the

                        Loehmanns.com website on accessibility and compliance with

                        the ADA using criteria which will provide effective

                        communication​ ​to​ ​persons​ ​who​ ​blind​ ​and​ ​use​ ​screen-readers;

                    b. Regularly check the accessibility of Defendant’s website to

                        maintain accessibility as required by the ADA using criteria

                        which will provide effective communication to persons who

                        blind​ ​and​ ​use​ ​screen-readers;

                    c. Regularly test end-user accessibility of the websites by
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                           screen-reader users to ensure that Defendant’s website is

                           accessible to blind and visually-impaired individuals who

                           would access them with screen-reading technology and prove

                           effective​ ​communication;​ ​and,

                      d. Develop an accessibility policy that is clearly disclosed on its

                           website, with contact information for users to report

                           accessibility-related problems and be provided with meaningful

                           resolution after Defendant has investigated and identified the

                           accessibility-related​ ​problem.

         49.      If Loehmanns.com was accessible to screen-reader users, Plaintiff and

similarly situated blind and visually-impaired people could independently access

Defendant's​ ​products​ ​and​ ​services.

         50.      Although Defendant may currently have centralized policies regarding

the maintenance and operation of its website, Defendant lacks a plan and policy

reasonably calculated to make its website fully and equally accessible to, and

independently​ ​usable​ ​by,​ ​blind​ ​and​ ​other​ ​visually-impaired​ ​consumers.

         51.      Without injunctive relief, Plaintiff and other visually-impaired

consumers will continue to be unable to independently use the Defendant's website

in​ ​violation​ ​of​ ​their​ ​rights.
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                                                   COUNT​ ​I

      [VIOLATIONS​ ​OF​ ​THE​ ​AMERICANS​ ​WITH​ ​DISABILITIES​ ​ACT]

         52.      Plaintiff re-alleges and incorporates by reference all paragraphs

alleged above and each and every other paragraph in this Complaint necessary or

helpful​ ​to​ ​state​ ​this​ ​cause​ ​of​ ​action​ ​as​ ​though​ ​fully​ ​set​ ​forth​ ​herein.

         53.      Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 ​et seq.​,

provides:

         “No individual shall be discriminated against on the basis of disability in the
         full and equal enjoyment of the goods, services, facilities, privileges,
         advantages, or accommodations of any place of public accommodation by
         any person who owns, leases (or leases to), or operates a place of public
         accommodation.”


(42​ ​U.S.C.​ ​§​ ​12182(a).)

         54.      The ADA requires that the place of public accommodation not

discriminate in any way in which it interacts with the public, whether by selling

products​ ​at​ ​a​ ​physical​ ​location​ ​or​ ​over​ ​a​ ​virtual​ ​location​ ​on​ ​the​ ​Internet.

         55.      Defendant's         website,        Loehmanns.com, is therefore a public

accommodation​ ​within​ ​the​ ​definition​ ​of​ ​Title​ ​III​ ​of​ ​the​ ​ADA,​ ​42​ ​U.S.C.​ ​§​ ​12181.
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       56.     Loehmanns.com​ ​is​ ​a​ ​service,​ ​privilege,​ ​or​ ​advantage​ ​of​ ​Defendant.

       57.     Loehmanns.com is a service that is integrated with Defendant's

products​ ​and​ ​services.

       58.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities the opportunity to participate in

or benefit from the goods, services, facilities, privileges, advantages, or

accommodations​ ​of​ ​an​ ​entity.​ ​ ​(42​ ​U.S.C.​ ​§​ ​12182(b)(1)(A)(i).)

       59.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities an opportunity to participate in

or benefit from the goods, services, facilities, privileges, advantages, or

accommodation, which is equal to the opportunities afforded to other individuals.

(42​ ​U.S.C.​ ​§​ ​12182(b)(1)(A)(ii).)

       60.     Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination​ ​also​ ​includes,​ ​among​ ​other​ ​things:

       “[A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to individuals
       with disabilities, unless the entity can demonstrate that making such
       modifications would fundamentally alter the nature of such goods, services,
       facilities, privileges, advantages or accommodations; and a failure to take
       such steps as may be necessary to ensure that no individual with a disability
       is excluded, denied services, segregated or otherwise treated differently than
       other individuals because of the absence of auxiliary aids and services,
       unless the entity can demonstrate that taking such steps would
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        fundamentally alter the nature of the good, service, facility, privilege,
        advantage, or accommodation being offered or would result in an undue
        burden.”

        (42​ ​U.S.C.​ ​§​ ​12182(b)(2)(A)(ii)-(iii).)

        61.      The acts alleged herein constitute violations of Title III of the ADA,

and​ ​the​ ​regulations​ ​promulgated​ ​thereunder.

        62.      Plaintiff, who is a member of a protected class of persons under the

ADA, has a physical disability that substantially limits the major life activity of

sight​ ​within​ ​the​ ​meaning​ ​of​ ​42​ ​U.S.C.​ ​§§​ ​12102(1)(A)-(2)(A).

        63.      Furthermore, Plaintiff has been denied full and equal access to

Loehmanns.com, has not been provided services which are provided to other

patrons who are not disabled, and has been provided services that are inferior to the

services​ ​provided​ ​to​ ​non-disabled​ ​persons.

        64.      Defendant has failed to take any prompt and equitable steps to remedy

its​ ​discriminatory​ ​conduct.​ ​ ​These​ ​violations​ ​are​ ​ongoing.

        65.      Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and

rights​ ​set​ ​forth​ ​and​ ​incorporated​ ​therein,​ ​Plaintiff,​ ​requests​ ​relief​ ​as​ ​set​ ​forth​ ​below.

        WHEREFORE, ​Plaintiff prays pray for judgment in her favor and against

Defendant,​ ​as​ ​follows:

                 1.       A Declaratory Judgment that, at the commencement of this
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action, Defendant was in violation of the specific requirements of Title III of

the ADA 42 U.S.C. § 12181 ​et seq.​, and the relevant implementing

regulations of the ADA, for Defendant’s failure to take action that was

reasonably calculated to ensure that its website was fully and equally

accessible to, and independently usable by, blind and visually-impaired

individuals;

        2.      A preliminary and permanent injunction enjoining Defendant

from further violations of the ADA, 42 U.S.C. § 12181 ​et seq.​, with respect

to​ ​its​ ​website,​ ​Loehmanns.com;

        3.      A preliminary and permanent injunction requiring Defendant to

take the steps necessary to make Loehmanns.com readily accessible to and

usable​ ​by​ ​blind​ ​and​ ​visually-impaired​ ​individuals;

        4.      For attorneys' fees and expenses pursuant to all applicable laws

including,​ ​without​ ​limitation,​ ​pursuant​ ​to​ ​42​ ​U.S.C.​ ​§​ ​12188(a)(1);

        5.      For compensatory damages including, but not limited to, mental

anguish, loss of dignity, and any other intangible injuries suffered by the

Plaintiff​ ​as​ ​a​ ​result​ ​of​ ​Defendant’s​ ​discrimination;

        6.      For​ ​prejudgment​ ​interest​ ​to​ ​the​ ​extent​ ​permitted​ ​by​ ​law;

        7.      For​ ​costs​ ​of​ ​suit;​ ​and
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                  8.       For such other and further relief as this Court deems just and

         proper.

                                                  COUNT​ ​II

                       [VIOLATIONS​ ​OF​ ​THE​ ​UNRUH​ ​CIVIL
               ​ ​RIGHTS​ ​ACT,​ ​CALIFORNIA​ ​CIVIL​ ​CODE​ ​§​ ​51​ ​et​ ​seq​.]

         89.      Plaintiff re-alleges and incorporates by reference all paragraphs

alleged above and each and every other paragraph in this Complaint necessary or

helpful​ ​to​ ​state​ ​this​ ​second​ ​cause​ ​of​ ​action​ ​as​ ​though​ ​fully​ ​set​ ​forth​ ​herein.

         90.      California Civil Code § 51 ​et seq. guarantees equal access for people

with disabilities to the accommodations, advantages, facilities, privileges, and

services of all business establishments of any kind whatsoever. Defendant is

systematically​ ​violating​ ​the​ ​UCRA,​ ​Civil​ ​Code​ ​§​ ​51​ ​et​ ​seq​.

         91.      Defendant’s website is a "business establishments" within the

meaning of the Civil Code § 51 ​et seq​. ​Defendant generates millions of dollars in

revenue from the sale of goods through its Loehmanns.com website. Defendant’s

website is a service provided by Defendant that is inaccessible to patrons who are

blind or visually-impaired like Plaintiff. This inaccessibility denies blind and

visually-impaired patrons full and equal access to the facilities, goods, and services

that Defendant makes available to the non-disabled public. Defendant is violating
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the UCRA, Civil Code § 51 ​et seq.​, by denying visually-impaired customers the

goods and services provided on its website, Loehmanns.com. These violations are

ongoing.

        92.      Defendant’s actions constitute intentional discrimination against

Plaintiff on the basis of a disability, in violation of the UCRA, Civil Code § 51 ​et

seq.​, because Defendant has constructed a website that is inaccessible to Plaintiff,

Defendant maintains the website in an inaccessible format, and Defendant has

failed​ ​to​ ​take​ ​actions​ ​to​ ​correct​ ​these​ ​barriers.

        93.      Defendant is also violating the UCRA, Civil Code § 51 ​et seq.

because the conduct alleged herein violates various provisions of the ADA, 42

U.S.C. § 12101 ​et seq.​, as set forth above. Section 51(f) of the Civil Code provides

that a violation of the right of any individual under the ADA also constitutes a

violation​ ​of​ ​the​ ​UCRA.

        94.      The actions of Defendant violate UCRA, Civil Code § 51 ​et seq.​, and

Plaintiff​ ​is​ ​therefore​ ​entitled​ ​to​ ​injunctive​ ​relief​ ​remedying​ ​the​ ​discrimination.

        95.      Plaintiff is entitled to statutory minimum damages pursuant to Civil

Code​ ​§​ ​52​ ​for​ ​each​ ​and​ ​every​ ​offense.

        96.      Plaintiff​ ​is​ ​also​ ​entitled​ ​to​ ​reasonable​ ​attorneys’​ ​fees​ ​and​ ​costs.

        WHEREFORE, ​Plaintiff prays pray for judgment in his favor and against
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Defendant,​ ​as​ ​follows:

               1.       A preliminary and permanent injunction enjoining Defendant

       from​ ​violating​ ​the​ ​UCRA,​ ​Civil​ ​Code​ ​§​ ​51​ ​et​ ​seq​,​ ​with​ ​respect​ ​to​ ​its​ ​website;

               2.       A preliminary and permanent injunction requiring Defendant to

       take the steps necessary to make its website readily accessible to and usable

       by​ ​blind​ ​and​ ​visually-impaired​ ​individuals;

               3.       An award of statutory minimum damages of $4,000 per

       violation​ ​pursuant​ ​to​ ​§​ ​52(a)​ ​of​ ​the​ ​California​ ​Civil​ ​Code;

               4.       For attorneys' fees and expenses pursuant to all applicable laws

       including,​ ​without​ ​limitation,​ ​pursuant​ ​to​ ​California​ ​Civil​ ​Code​ ​§​ ​52(a);

               5.       For​ ​prejudgment​ ​interest​ ​to​ ​the​ ​extent​ ​permitted​ ​by​ ​law;

               6.       For​ ​costs​ ​of​ ​suit;​ ​and

               7.       For such other and further relief as this Court deems just and

       proper.

                                        JURY​ ​DEMAND

       Plaintiff​ ​hereby​ ​demands​ ​trial​ ​by​ ​jury.


Dated:​ ​November​ ​17,​ ​2017

                                                   ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​Respectfully​ ​submitted,

                                                            /s/​ ​Javier​ ​L.​ ​Merino
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